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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.                                       Case No. 17-20595
                                          Honorable Victoria A. Roberts
 YOUSEF RAMADAN,

      Defendant.
 _____________________________/

                                    ORDER

       On July 14, 2020 the Court held a hearing on defense counsel

 Richard Korn’s motion to withdraw [ECF No. 200] and defendant’s motion

 for new attorney [ECF. No. 203].

       For the reasons stated on the record, the motions are GRANTED.

 The Court orders the Federal Community Defender to appoint counsel.

       ORDERED.

                                          s/ Victoria A. Roberts
                                          Victoria A. Roberts
                                          United States District Judge

 Dated:7/15/2020
